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                        IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                      Plaintiff,             )               8:94CR94
                                             )
               v.                            )
                                             )
COREY SHELTON,                               )         ORDER ON DISPOSITION
                                    )
                  Defendant.        )
____________________________________)


               This matter is before the Court pursuant to an Amended Petition for Warrant or

Summons for Offender Under Supervision filed on December 13, 2006 (Filing No. 522). The

defendant appeared before the Court, with counsel, and admitted allegations two and three

contained in the Amended Petition. Allegation number one was dismissed on motion of the

government. The Court finds the defendant has violated the terms of his supervised release as

alleged in numbered paragraphs two and three of the Amended Petition for Warrant or Summons

for Offender Under Supervision.

               The matter proceeded to disposition. The Court received evidence from the

defendant and heard argument from the parties. The Court finds the defendant’s supervised

release should be revoked. Accordingly,

               IT IS ORDERED that the defendant’s supervised release is revoked and he is

committed to the custody of the Bureau of Prisons to serve a term of six months imprisonment

with credit for time already served while awaiting disposition of this matter. The Court
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recommends to the Bureau of Prisons that the defendant be allowed to serve his sentence at the

C.H., Inc., facility located in Council Bluffs, Iowa.

               DATED this 2nd of March, 2007.

                                               BY THE COURT:

                                               /s/ Lyle E. Strom

                                               LYLE E. STROM, Senior Judge
                                               United States District Court




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